Case 23-12540-pmm         Doc 30    Filed 09/11/23 Entered 09/11/23 15:15:35               Desc Main
                                    Document Page 1 of 1



                    UNITED STATES BANKRUPTCY COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
__________________________________________
                                           :
In re:                                     : CHAPTER 11
                                           :
SACKS WESTON LLC                          :  Case No. 23-12540 (PMM)
                                           :
                        Debtor             :
__________________________________________:

 ORDER GRANTING APPLICATION TO EMPLOY SMITH KANE HOLMAN, LLC AS
         DEBTOR’S COUNSEL PURSUANT TO SECTION 327 OF THE
     UNITED STATES BANKRUPTCY CODE AND BANKRUPTCY RULE 2014

       AND NOW, this ______
                     11th   day of ______________,
                                    September      2023 upon consideration of the

Application To Employ Smith Kane Holman, LLC As Debtor’s Counsel Pursuant To Section

327 Of The United States Bankruptcy Code And Bankruptcy Rule 2014 (the “Application”), the

Court having concluded that the employment of Smith Kane Holman, LLC is necessary and is in

the best interest of the Debtor, the Court being satisfied that Smith Kane Holman, LLC

represents no interest adverse to the estate with respect to matters as to which it is to be engaged,

that Smith Kane Holman, LLC is disinterested under Sections 101, 327, and 1195 of the United

States Bankruptcy Code, and sufficient cause appearing therefore, it is hereby ORDERED that:

       1.      The Application is APPROVED.

       2.      The Debtor is hereby authorized to employ Smith Kane Holman, LLC effective as

of the date of the filing of the Application, pursuant to the terms more fully set forth in the

Application, and Smith Kane Holman, LLC may receive such compensation as is approved by

this Court upon application after notice and opportunity for hearing.



                                               ______________________________
                                               The Honorable Patricia M. Mayer
                                               United States Bankruptcy Judge
